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IN THE UNITED STATES DISTRICT COURT

 

FoR THE WESTERN DISTRICT oF TENNESSEE .
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) (MD
UNITED sTATES oF AMERICA, ) MD?§';W mm
) wm o.f ';%~»=, railth
Plaintiff, )
)
v. ) Case No. 02-20165-D/P
)
ALVIN [RWIN MOSS, et al., )
)
Defendants. )
)

 

ORDER GRANTING IN PART AND DENYING IN PART THE MOTION OF THE
UNITED STATES REQUESTING THE COURT TO DENY DEFENDANTS’ PROPOSED
ORDER REQUIRING APPEARANCE OF WITNESSES

 

Before the Court is the motion of the United States ofAmerica to deny Defendants’ proposed
order requiring appearance of witnesses For the following reasons, the Court hereby GRANTS in
part and DENIES in part the government’s motion.

On July 29, 2005, the Court entered an Order requiring the appearance of certain witnesses
Defendants raised this issue ore terms during the July 22, 2005 hearing It appears that the July 29,
2005 Order addresses witnesses for whom subpoenas were not issued. Accordingly, the Court’s July
29, 2005 Order is modified to address only those witnesses for whom valid subpoenas have been

issued.

IT rs so oRDERED this 534 day orAugusr, 2005.

Thls document entered on the docket sheet in compliance
with Ru|a 55 and/or 32(|;)) FF!CrP on ’

 

 

 

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This notice confirms a copy of the document docketed as number 586 in
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Honorable Bernice Donald
US DISTRICT COURT

